Exhibit 3
FACTSHEET
Simultaneous Submission
Authors have an obligation to make sure their paper is based on original–never before
published–research. Intentionally submitting or re-submitting work for duplicate publication is
considered a breach of publishing ethics.
■ Simultaneous submission occurs when a person submits a paper to different publications at the same time, which can result in more than one
   journal publishing that particular paper.
■ Duplicate/multiple publication occurs when two or more papers, without full cross-reference, share essentially the same hypotheses, data,
   discussion points, and/or conclusions.1 This can occur in varying degrees: literal duplication, partial but substantial duplication, or even
   duplication by paraphrasing.2

One of the main reasons duplicate publication of original research is considered unethical, is that it can result in "inadvertent double-counting or
inappropriate weighting of the results of a single study, which distorts the available evidence".3

There are certain situations in which the publishers of two journals might agree in advance to use the "duplicate work".3 These include:
■ Combined editorials (e.g. about a plagiarism case involving the two journals).
■ (Clinical) guidelines, position statements.
■ Translations of articles–provided that prior approval has been granted by the first Publisher, and that full and prominent disclosure of its original
  source is given at the time of submission.2

The main rule of thumb: articles submitted for publication must be original and must not have been submitted to any other publication. At the time
of submission, authors must disclose any details of related papers (also when in a different language), similar papers in press, and translations.

While the boundaries around duplicate publication may vary from field to field, all publishers have requirements for submitting papers. It's a good
idea to make sure you fully understand them to avoid violating the process.

Guide to Duplicate Submission/Publication and How to Prevent It*

   Action                            What is it?                                          Is it unethical?                                          What should you do?
   Simultaneous                       Submitting a paper to two or more                     Yes.                                                   ■ Avoid submitting a paper to more than one
   submission                         journals at the same time.                            Submission is not permitted as long as                   publication at a time.
                                                                                            a manuscript is under review with                      ■ Even if a submitted paper is currently under

                                                                                            another journal.                                         review and you do not know the status, wait to
                                                                                                                                                     hear back from the publisher before approaching
                                                                                                                                                     another journal, and then only if the first
                                                                                                                                                     publisher will not be publishing the paper.

   Duplicate publication              When an author submits a paper or                     Yes.                                                   ■ Avoid submitting a previously published paper
                                      portions of his or her own paper that                                                                          for consideration in another journal.
                                      has been previously published to                                                                             ■ Avoid submitting papers that describe essentially
                                      another journal, without disclosing                                                                            the same research to more than one journal.
                                      prior submission(s).                                                                                         ■ Always provide full disclosure about any previous

                                                                                                                                                     submissions (including meeting presentations
                                                                                                                                                     and posting of results in registries) that might be
                                                                                                                                                     regarded as duplicate publication.3
                                                                                                                                                   ■ This should include disclosing previous publication

                                                                                                                                                     of an abstract during the proceedings of meetings.1

   Duplication by                     When an author writes about his or                    Yes.                                                   ■ Put anything in quotes that is taken directly from
   Paraphrasing or                    her own research in two or more                       Creating several publications from the                   a previously published paper, even if you are
   "Text-recycling"                   articles from different angles or on                  same research, is considered manipulative.               reusing something in your own words.
                                      different aspects of the research                                                                            ■ Make sure to reference the source accordingly.

                                      without acknowledgment of the                         See our separate factsheet on
                                      original paper.                                       plagiarism/text recycling.

   Translations of a paper            Submitting a paper to journals in                     Yes.                                                   ■ If you want to submit your paper to journal that
   published in another               different languages without                           Translated articles are acceptable when                  is published in a different country or a different
   language                           acknowledgment of the original                        all necessary consents have been                         language, ask the publisher if this is permissible.
                                      paper.                                                obtained from the previous publisher                   ■ At the time of submission, disclose any details of
                                                                                            of the paper in any other language and                   related papers in a different language, and any
                                                                                            from any other person who might own                      existing translations.
                                                                                            rights in the paper.

*When in doubt, always consult with your professor, advisor, or someone in a position of authority who can guide you to the right course of action.

References
1. Principles of Transparency and Best Practice in Scholarly Publishing, Version 2, 2015. Committee on Publication Ethics (COPE). Accessed on: June 17, 2017.
2. Elsevier Publishing Ethics policies: Duties of Authors. Available at: elsevier.com/publishingethics. Accessed on: June 17, 2017.
3. International Committee of Medical Journal Editors. Uniform Requirements for Manuscripts Submitted to Biomedical Journals: Publishing and Editorial Issues Related to Publication in Biomedical
   Journals: Overlapping Publications. Available at: http://www.icmje.org/recommendations/browse/publishing-and-editorial-issues/overlapping-publications.html. Accessed on: June 17, 2017.


Elsevier | Ethics in Research & Publication                                                                                                                                          2017_ETHICS_SSUB02
